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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs,

                            v.                              Case No: 1:25-cv-00766-JEB

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants.



                  PLAINTIFFS’ RESPONSE TO DEFENDANTS’ INVOCATION
                          OF THE STATE SECRETS PRIVILEGE

                                        INTRODUCTION

        On March 25, the Court directed Plaintiffs to file their response, if any, to Defendants’

Notice Invoking the State Secrets Privilege (ECF No. 56).

        Two threshold matters bear emphasis. First, Plaintiffs respectfully submit that the Court

already possesses the information it needs to conclude that its March 15 oral and written

temporary restraining orders were violated. The government has confirmed that “two flights

carrying aliens being removed under the AEA departed U.S. airspace before the Court’s minute

order of 7:25 PM EDT, and before the Court’s oral statements during the hearing.” Decl. of

Robert L. Cerna, Acting Field Office Director, ICE (ECF No. 49-1). The government has also

confirmed that it is “not contest[ing] for the purposes of these proceedings that the planes landed

abroad, and that the aliens on board were deplaned, after the issuance of the Court’s minute

order.” Defs. Notice Invoking State Secrets Privilege 7–8 (ECF No. 56) (“Defs. Notice”). These

facts, standing alone, establish that the government failed to comply with both of the Court’s



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orders. See also Pls. Notice Regarding Mar. 19 Order 1–3 (ECF No. 55) (describing additional

public details about the flights and submitting declarations refuting the government’s contention

that it was not feasible for the planes to return class members to the United States). However, if

the Court determines that it lacks sufficient information to assess the government’s non-

compliance with its orders, and that the government must respond to the Court’s five questions

of March 18 to establish a more complete record, the government should not be permitted to

withhold these facts from the Court on the basis of the state secrets privilege.1

       Second, Plaintiffs are unaware of any case in which the state secrets privilege has been

invoked to withhold evidence from a court seeking to enforce its own orders. As Plaintiffs

explain below, the application of the state secrets privilege in this case is entirely unwarranted. If

the government’s reasoning here were accepted more broadly, it could thwart judicial

investigation of contempt whenever the government asserts a nexus to “foreign affairs” or

“national security”—allowing the executive to defy court orders with impunity.

                                           ARGUMENT

I.      Legal Standards

       Where the state secrets privilege properly applies, it allows the government to withhold

evidence due to a “reasonable danger” that disclosure will “expose military matters which, in the

interest of national security, should not be divulged.” United States v. Reynolds, 345 U.S. 1, 10

(1953); see generally United States v. Zubaydah, 595 U.S. 195, 204–05 (2022) (discussing cases

where the state secrets privilege has applied). As courts have repeatedly admonished, the

government may not use the privilege “to shield any material not strictly necessary” to prevent


1
 While Plaintiffs believe that the Court has the information it needs to conclude that both of its
orders were violated, the Court may require additional facts to determine the appropriate remedy.
That inquiry, however, can await further proceedings.


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harm to national security. Ellsberg v. Mitchell, 709 F.2d 51, 57 (D.C. Cir. 1983) (emphasis

added); In re United States, 872 F.2d 472, 476 (D.C. Cir. 1989) (same). Courts must “take very

seriously [their] obligation to review the government’s claims with a very careful, indeed a

skeptical, eye, and not to accept at face value the government’s claim or justification of

privilege.” Mohamed v. Jeppesen Dataplan, Inc., 614 F.3d 1070, 1077 (9th Cir. 2010) (en banc)

(quoting Al-Haramain Islamic Foundation, Inc. v. Bush, 507 F.3d 1190, 1203 (9th Cir.)).

       The government bears the burden of establishing that the privilege should apply.

Zubaydah, 595 U.S. at 209. When reviewing whether the government’s invocation of the

privilege is justified, “the court must be satisfied from all the evidence and circumstances, and

‘from the implications of the question, in the setting in which it is asked, that a responsive

answer to the question or an explanation of why it cannot be answered might be dangerous

because injurious disclosure could result.’” Reynolds, 345 U.S. at 9 (quoting Hoffman v. United

States, 341 U.S. 479, 486–87 (1951)) (emphasis added); see also Molerio v. FBI, 749 F.2d 815,

822 (D.C. Cir. 1984) (Scalia, J.) (same).

       Here, only the Court is seeking information from the government—in an ex parte, in

camera setting—and only for the purpose of ascertaining whether its orders were violated. That

context bears heavily on the question of whether the privilege can be justified at all, and whether

disclosure to the Court in these narrow circumstances poses a danger to national security.

Reynolds, 345 U.S. at 9.

       In assessing the validity of the government’s privilege invocation, this Court may require

“in camera examination of the actual information sought to be protected, in order to ascertain

that the criteria set forth in Reynolds are fulfilled.” El-Masri, 479 F.3d 296, 305 (4th Cir. 2007);

Zubaydah, 595 U.S. at 212 (“It is true that sometimes a court must personally review the




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evidence at issue in order to assess the Government’s assertion of the state secrets privilege.”

(plurality op.));2 Molerio, 749 F.2d at 822 n.2 (noting that “in camera inspection of an affidavit”

may not “always be sufficient to determine the validity of a claim of privilege for state secrets”).

That is because, as the Court in Reynolds cautioned, “judicial control over the evidence in a case

cannot be abdicated to the caprice of executive officers.” 345 U.S. at 9–10.3

II.     The Court’s Required Disclosures Would Not Result in Unacceptable Danger to
        National Security

       Defendants’ declarations utterly fail to meet their burden to show that disclosure of the

ordered information to this Court will endanger national security. Not only are the government’s

declarations too vague and speculative to support the application of the state secrets privilege,

but their core premises are belied by extensive, official government disclosures concerning the

information now claimed to be “secrets of state.” In re United States, 872 F.2d at 475. As this

Court explained in its March 19 Order, Secretary Rubio “has revealed many operational details

of the flights, including the number of people involved in the flights, many of their identities, the

facility to which they were brought, their manner of treatment, and the time window during


2
  See also Zubaydah, 595 U.S. at 254 (Gorsuch, J. & Sotomayor, J., dissenting) (“[W]hen
assessing a state secrets claim courts may—and often should—review the evidence supporting
the government’s claim of privilege in camera.”); id. at 233 (Kavanaugh, J. & Barrett, J.,
concurring in part) (“If the requester has demonstrated a “strong” need for the information, the
court may under certain circumstances review the requested documents in camera to confirm
that the information falls within the privilege.”); cf. id. at 220–23 (Thomas, J. & Alito, J.,
concurring in part) (not foreclosing in camera review of purportedly privileged material).
3
  Although courts have characterized the privilege as “absolute” where it properly applies,
Ellsberg, 709 F.2d at 57; see Defs. Notice 2, the doctrinal rules concerning the withholding of
privileged information from courts are in fact more nuanced. For example, the D.C. Circuit has
reviewed and relied on materials withheld under the state secrets privilege to determine what
consequences flow from the use of the privilege to withhold evidence, and it has directed district
courts to devise procedures that balance the interests of the parties. See Attorney General v. Irish
People, Inc., 684 F.2d 928, 954–55 (D.C. Cir. 1982); see also In re Sealed Case, 494 F.3d 139,
149–50 (D.C. Cir. 2007) (recognizing that courts may review state secrets information ex parte
and in camera to determine if it would establish a “valid defense”).


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which these events occurred.” Order 2 (ECF No. 38) (citing Secretary Marco Rubio,

@SecRubio, X (Mar. 16, 2025, 8:39 a.m.),

https://x.com/SecRubio/status/1901252043517432213 [https://perma.cc/RXH4-XH4R]). The

government has not claimed that the information the Court seeks is classified (or even that it is

“confidential”), and its assertion that disclosure would reveal law enforcement “sources and

methods” cannot justify the privilege. For these reasons, the Court should reject Defendants’

invocation of the privilege here.

       First, the number of alleged TdA members on the flights at issue, and the number being

removed solely pursuant to the Proclamation, are not state secrets—particularly in light of the

U.S. government’s extensive official disclosures on this topic. Yet the Noem Declaration ignores

these official disclosures and baldly asserts that disclosure of “the number and nature of aliens

removed to the foreign state” would “threaten[] significant harm to the United States’ national

security interests.” Noem Decl. ¶¶ 11, 11.C (ECF No. 56-3). Similarly, the Rubio Declaration

contends that “[c]ompelled disclosure of the number of aliens aboard any deportation flight”—

and “the reasons any of those aliens were placed aboard”—“threatens significant harm to the

United States’ foreign affairs and national security interests.” Rubio Decl. ¶ 10 (ECF No. 56-2).

       If these assertions were even remotely true, then President Trump and Secretary Rubio

have—through their own public disclosures about the AEA removal operations—already caused

the very harms Defendants cite here. On March 16, Secretary Rubio posted on X: “[A]s

promised by @POTUS, we sent over 250 alien enemy members of Tren de Aragua which El

Salvador has agreed to hold in their very good jails at a fair price that will also save our taxpayer




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dollars.”4 Also on March 16, Tom Homan, White House Border Czar, posted on X (and

Secretary Rubio reposted): “Last night, 238 Tren de Aragua members along with 21 MS13 gang

members, were deported from this country adding to the thousands of criminal aliens already

deported.”5 The White House released a statement that same day, claiming that DHS

“successfully arrested nearly 300 Tren de Aragua terrorists, saving countless American lives.

Thanks to the great work of the Department of State, these heinous monsters were extracted and

removed to El Salvador[.]”6 On March 17, White House press secretary Karoline Leavitt told

reporters that approximately 261 people were deported on the flights, including 137 under the

Alien Enemies Act.7 While the statistics differ, the bottom line is that the White House and

senior U.S. government officials have had no qualms about publicizing the number of alleged

TdA members removed across three flights to El Salvador—and the fact that 137 of them are

class members who were removed under the AEA. Thus, the government has failed to meet its

burden to show that the disclosure of this information as to two flights would harm national

security.

       More generally, the U.S. government’s official disclosures profoundly undermine the

credibility of all three declarants’ assertions of foreign relations and national security harm. See,



4
 Secretary Marco Rubio, @SecRubio, X (Mar. 16, 2025, 7:59 a.m.),
https://x.com/SecRubio/status/1901241933302825470 [https://perma.cc/S5VX-LBFS].
5
 Thomas D. Homan, @RealTomHoman, X (Mar. 16, 2025, 11:30 a.m.),
https://x.com/RealTomHoman/status/1901294938199073009 [https://perma.cc/7HSE-4MAC].
6
 Statement from the Press Sec’y, The White House (Mar. 16, 2025),
https://www.whitehouse.gov/briefings-statements/2025/03/statement-from-the-press-secretary-
50c7 [https://perma.cc/2W84-L6N4].
7
  Michael Kunzelman & Regina Garcia Cano, A timeline of the legal wrangling and deportation
flights after Trump invoked the Alien Enemies Act, AP (Mar. 21, 2025),
https://apnews.com/article/trump-deportation-courts-aclu-venezuelan-gang-timeline-
43e1deafd66fc1ed4e934ad108ead529.


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e.g., Noem Decl. ¶¶ 11, 11.C (asserting “significant harm to the United States’ national security

interests” from disclosure about “the number and nature of aliens removed”); Bondi Decl. ¶ 6

(ECF No. 56-1) (describing Rubio and Noem Declarations as reflecting “studied and well-

supported conclusion[s]”). These official disclosures also underscore the facial deficiencies in

the declarations. Because Secretaries Rubio and Noem fail to account for the executive branch’s

publicity campaign touting the AEA removals, their declarations do not even attempt to describe

any marginal additional harm that could result from disclosure to this Court, given the prior

official statements. See, e.g., Rubio Decl. ¶ 10 (speculating about “internal or international

pressure” on a foreign state that could result from disclosure of the number of aliens aboard any

deportation flight, without addressing what additional harms could possibly result after the U.S.

government’s public disclosures); see also infra (discussing declarations’ facial defects).

       Second, the times of the planes’ departures and arrivals, the times they left U.S. airspace,

their destinations, and the times that individuals were transferred out of U.S. custody are not state

secrets. The Rubio Declaration asserts that the government cannot answer this Court’s questions

because the United States had to negotiate “logistical details” with a foreign State, including “the

destination of the deportation flight, as well as the time of departure and arrival at the

destination, and the form and timing of the transfer of custody.” Rubio Decl. ¶ 11; see also Noem

Decl. ¶ 11 (similar). The Noem Declaration further contends that disclosing any details about the

operation “would directly help [TdA and similar] groups avoid capture,” Noem Decl. ¶ 10.D, and

both state that “compelled disclosure of this information—to anyone—would likely be seen by

the foreign State as a breach of trust.” Noem Decl. ¶ 11.B; see also Rubio Decl. ¶ 11 (similar).

But the video of Plaintiff class members disembarking from removal flights and being




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transferred to Salvadoran custody—a video published by President Bukele of El Salvador,8 by

Secretary Rubio on X,9 and by President Trump on Truth Social10—reveals extensive

information about these purportedly “sensitive” “logistical details,” including:

        The destination of the deportation flights: El Salvador.

        “Global Crossing Airlines” and “GlobalX” branding on the three planes, which,

         alongside the U.S. government’s disclosure of El Salvador as the destination, permits

         public and precise tracking of the flights—including locations in the air, as well as the

         sites of any stopovers—because only three Global Crossing Airlines/GlobalX planes

         landed in El Salvador that day.11

        At least one plane tail number, N837VA, which also permits public tracking of the flight.

        The fact that passengers disembarked from the planes and were transferred to Salvadoran

         custody after sunset.

        Numerous details about the “form” of the “transfer of custody” to El Salvador, e.g.,

         depictions of forcing the men off the plane, putting them in armored vehicles and on

         buses, and moving them to the Centro de Confinamiento del Terrorismo.




8
 Nayib Bukele, @nayibbukele, X (Mar. 16, 2025, 8:13 a.m.),
https://x.com/nayibbukele/status/1901245427216978290 [https://perma.cc/BM73-547H].
9
 Secretary Marco Rubio, @SecRubio, X (Mar. 16, 2025, 8:39 a.m.),
https://x.com/SecRubio/status/1901252043517432213 [https://perma.cc/RXH4-XH4R].
10
   President Donald J. Trump, @realDonaldTrump, Truth Social (Mar. 16, 2025, 3:54 p.m.),
https://truthsocial.com/@realDonaldTrump/posts/114173862724361939 [https://perma.cc/67LY-
FREW].
11
  See, e.g., Flight Data Shows Timeline of the Venezuelan Deportation Operation, Reuters (Mar.
17, 2025), https://www.reuters.com/world/americas/flight-data-shows-timeline-venezuelan-
deportation-operation-2025-03-17.


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In light of the U.S. government’s publication of this video through President Trump’s and

Secretary Rubio’s social media channels, as well as other official disclosures,12 it is

inconceivable that the U.S. government’s ex parte, in camera response to this Court’s questions

“threaten[s] significant harm to the United States’ foreign affairs and national security interests,”

Rubio Decl. ¶ 11, or would constitute a “breach of trust” with El Salvador, id.; Noem Decl.

¶ 11.E; see also Reynolds, 345 U.S. at 9 (when considering whether the privilege applies, court

must evaluate “all the evidence and circumstances” and “the setting in which [the question] is

asked”).

       Although the video itself does not supply the exact answers that the Court sought through

its questions, the breadth and depth of the government’s official disclosures about the flights

fatally undermines the declarations’ assertions of harm. See, e.g., Burks v. Islamic Republic of

Iran, No. 16-cv-1102 (CRC), 2020 WL 13303322, at *11 (D.D.C. Aug. 21, 2020) (rejecting

government’s assertion of state secrets privilege over information linking Iran to improvised

bombs in two specific attacks, because the general link between Iran and these devices was a

matter of “official public record”); Rahman v. Chertoff, No. 05-cv-3761, 2008 WL 4534407, at

*6 (N.D. Ill. Apr. 16, 2008) (rejecting government’s assertion of state secrets privilege over

whether plaintiffs were on terrorism watchlist; the plaintiffs had been stopped at the U.S. border

on multiple occasions, and that “factual backdrop” made clear that additional disclosure would



12
   President Donald J. Trump, @realDonaldTrump, Truth Social (Mar. 17, 2025, 10:00 a.m.),
https://truthsocial.com/@realDonaldTrump/posts/114178132439225624 (posting Fox & Friends
clip of Tom Homan discussing the removal of alleged TdA members to El Salvador);
https://x.com/RapidResponse47/status/1903113239887544544 [https://perma.cc/AD6C-92AY]
(President Trump, in interview, describing video originally posted by President Bukele);
Statement from the Press Sec’y, The White House (Mar. 16, 2025),
https://www.whitehouse.gov/briefings-statements/2025/03/statement-from-the-press-secretary-
50c7 [https://perma.cc/2W84-L6N4].


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not result in harm to national security). Of particular importance here, by disclosing the planes’

branding, destination, and at least one tail number, the U.S. government effectively disclosed the

flights’ departure and arrival times and locations—making it trivially easy for anyone with

internet access to ascertain these details.13 Thus, although Secretary Rubio contends that it would

“erode the credibility of the United States’ assurances that information will be maintained in

confidence” if the government is forced to respond to the Court’s questions, Rubio Decl. ¶ 14,

the United States government has itself failed to maintain the details of the flights in confidence.

       Even setting aside the official disclosures, the mere fact that the United States negotiated

“logistical details” with a foreign country, Rubio Decl. ¶ 11, does not render those details a state

secret. The United States negotiates such details as a routine matter, including for ICE’s

deportation flights. See 8 U.S.C. Sec 1231(b)(2)(C)-(E) (setting forth procedure to determine

country of removal, including inquiries and responses with foreign government about their

willingness to accept removals). The government has not credibly identified any genuine harm

to national security that would flow from disclosure to the Court of the basic facts here.

       Similarly, it is difficult to comprehend how disclosing the details of “[r]emoval

operations” to this Court could help “TdA and similar groups” “avoid capture.” Noem Decl.

¶ 10.D. Even if the information sought by the Court somehow became public, the removal

operations at issue have been carried out against individuals who had already been “captured”—

they were in government detention facilities. For the same reason, it is difficult to comprehend

the basis for the Noem Declaration’s subsequent assertion: that disclosure of these details would


13
   Even the Rubio Declaration references the ease with which the public can track removal
flights: “Compelled disclosures of [the information requested], or of information that would
allow any third party to determine that information in whole or in part, would allow the national
and international public to confirm that a particular flight was indeed a deportation flight[.]”
Rubio Decl. ¶ 11.


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“directly undermine the efficacy of American counterterrorism operations.” Id. These removal

operations have already taken place—officially and publicly.

       Insofar as the Rubio Declaration contends that the harm to foreign affairs would result

from the mere fact that this Court “compel[s]” disclosure, see Rubio Decl. ¶¶ 10–11, it is wrong.

The privilege protects secret information from disclosure, and only if disclosure would endanger

national security. Where, as here, the government officially acknowledges information, or

otherwise fails to maintain the confidentiality of information, it cannot claim a distinct harm to

national security from “compelled” disclosure through judicial process. In any event, foreign

nations surely understand that the United States has three coordinate branches of government,

which operate under the rule of law. If the executive branch violates or appears to violate a court

order, it should come as no surprise to foreign partners that a court may investigate further to

ascertain the extent of the violation and what consequences should follow. This is not a situation

where the Court has “simply . . . asked for” answers to its questions out of idle curiosity, Rubio

Decl. ¶ 14; rather, it asked for these answers to determine whether the government chose to

disregard two orders of the Court.

       The closest the government comes to identifying potentially sensitive information is its

claim that revealing the location of any stopovers (here, Honduras) may be harmful to the United

States’ relationship with that country. See Rubio Decl. ¶ 12; Noem Decl. ¶ 11.E. But this claim

fails as well. By officially disclosing the planes’ operator (Global Crossing Airlines/GlobalX),

their destination, and at least one tail number through the publication of President Bukele’s

video, see supra, the U.S. government disclosed the planes’ flight paths—including stopovers.

Moreover, the declarations’ assertions of harm are entirely too vague and speculative to support

the application of the privilege. See Rubio Decl. ¶ 12 (stating that this information “can itself be”




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a matter of sensitive diplomatic discussion; compelled disclosure would “likely” be seen as a

breach of trust; and hypothesizing about speculative harms that could result from disclosure “if”

a foreign state were unaware of the nature or purpose of the flight (emphasis added)); Noem

Decl. ¶ 11.E (same). That is especially true here, where the U.S. government has in recent weeks

repeatedly identified Honduras as a stopover point for deportations of Venezuelan citizens—and

publicly thanked Honduran leaders for their cooperation.14

       While the state secrets privilege may apply to information that, if disclosed, would “result

in . . . disruption of diplomatic relations with foreign governments,” In re United States, 872 F.2d

at 476, the “diplomatic relations” cases involve much stronger evidence of national security

harm. For example, in Zubaydah, the Court upheld the privilege where a discovery request

would have forced former CIA contractors to confirm the location of a CIA detention and torture

site abroad. Zubaydah, 595 U.S. at 201. The Court ultimately concluded that “confirmation of

confidential cooperation between the CIA and a foreign intelligence service could damage the

CIA’s clandestine relationships with foreign authorities,” id. at 208 (emphases added), because

foreign cooperation was based on “‘mutual trust that the classified existence and nature of the

relationship would not be disclosed,’” id. at 207 (quoting CIA Director’s declaration) (emphasis

added). But no such harm is remotely plausible here, where public data shows the planes



14
  See, e.g., State Department Bureau of Western Hemisphere Affairs, X (Mar. 23, 2025, 10:48
p.m.), https://x.com/WHAAsstSecty/status/1904002353403248653 [https://perma.cc/8GXP-
QUAK] (“Today, deportation flights of Venezuelan illegal aliens to their homeland resumed via
Honduras. . . . Thank you to Honduran President Castro and her government for partnering to
combat illegal immigration.”); Silvia Foster-Frau, Migrants Detained in Guantánamo are
Deported Back to Venezuela, Wash. Post (Feb. 20, 2025), https://www.msn.com/en-
us/politics/government/migrants-detained-in-guant%C3%A1namo-are-deported-back-to-
venezuela/ar-AA1zthWz [https://perma.cc/ET85-8V9Z] (“U.S. Department of Homeland
Security spokeswoman Tricia McLaughlin said that 177 Venezuelan migrants had been flown to
Honduras.”).


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stopping briefly in Honduras and where Defendants have publicly praised Honduras’s assistance

with their deportation efforts.

          Third, the declarations fail on their face to establish that the information at issue is secret

and that disclosure to the Court would harm national security. The government does not contend

that any of this information is classified, and for that reason alone, its invocation of the privilege

is dubious. As the D.C. Circuit explained in Halkin v. Helms, 690 F.2d 977, 996 n.69 (D.C. Cir.

1982), a “matter qualifying as a secret of state will presumably always qualify for classified

status.” And, as this Court has noted, “[c]lassification is generally considered to be less

protective than the state-secrets privilege.” Order 2 (ECF No. 38); see also, e.g., Abilt v. CIA,

848 F.3d 305, 312 n.5 (4th Cir. 2017) (classification itself is “is insufficient to establish the

privilege”; treating it as conclusive would “trivialize the court’s role” in evaluating whether the

privilege properly applies (quoting Jeppesen, 614 F.3d at 1082). Yet the government makes no

claim that the information the Court seeks is or could be lawfully classified. See Executive Order

13526, 75 Fed. Reg. 705 (Dec. 29, 2009). And even if the information were classified, the INA

specifically contemplates that courts may review such information in immigration proceedings.

See 8 U.S.C. § 1229a(b)(4)(B) (providing for ex parte review of “national security information”);

id. §§ 1533–34 (similar in fast-track proceedings for noncitizens alleged to pose national security

risks).

          If Defendants were to belatedly assert that the information at issue is classified, the Court

should require Defendants to provide information about who made the classification decision

initially, when it was made, whether all documents were marked appropriately and stored

securely, whether all communications were handled via secure means, and whether Secretary

Rubio engaged in a declassification review prior to publicizing information related to the




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deportation flights and operation in his social media post. The Court should also require

Defendants to provide the applicable classification guide provisions that they claim to have

relied on in making the classification determination.

        Indeed, the declarations fail even to state that the specific information requested by the

Court is “clandestine” or has been kept “confidential.” At most, the information is characterized

in passing as “sensitive” and “nonpublic”—but not that it has been maintained as secret. See

Rubio Decl. ¶ 16. Secretary Rubio also refers to abstract U.S. “assurances” to foreign states that

“information will be maintained in confidence,” id. ¶ 14, but he does not specify that the

information at issue here was in fact maintained that way. Compare, e.g., Decl. of Michael

Pompeo, CIA Director at 4–5, In re Application of Zayn Al-Abidin Muhammad Husayn (Abu

Zubaydah), No. 17-cv-171 (E.D. Wash. Oct. 24, 2017), ECF No. 30-1 (“Decl. of CIA Director”)

(“The specific foreign countries where the CIA operated detention facilities and the foreign

governments that clandestinely assisted the CIA program are classified at the TOP SECRET

level[.]”).

        The declarations’ reliance on speculative, vague, and conclusory language is yet another

problem. For example, Secretary Noem contends that disclosures about the number of TdA

members on a given flight could allow other noncitizens to draw unspecified “inferences” about

the government’s prioritization of resources in immigration enforcement and counterterrorism

operations; that disclosure “may even lend TdA and other such organizations the ability to

predict operational details”; and that specifying the number of enemy aliens removed on the

basis of the proclamation “could likely impair” national security. Noem Decl. ¶ 10.C (emphasis

added). Compare, e.g., Decl. of CIA Director at 4–5 (asserting that if former CIA contractors

were to respond to subpoenas, it “reasonably could be expected to cause serious, and in many




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instances, exceptionally grave damage to U.S. national security”). Of course, regardless of the

government’s facial assertions, courts must always evaluate their credibility in the context of the

surrounding facts and official disclosures. See, e.g., Reynolds, 345 U.S. at 9–10.

       As noted above, the declarations also fail to address how disclosure only to the Court

would result in any marginal harms, given the extent of the government’s official, public

disclosures about the flights, the fact that the underlying information is not classified, and the

presumably large number of DHS and ICE employees and contractors with knowledge of this

information. While Secretary Rubio rightly observes that there is “a difference between official

acknowledgment and informal reports,” Rubio Decl. ¶ 15, he completely fails to account for the

extensive and detailed U.S. government disclosures at issue here—including his own.

       Finally, there is no basis for applying the state secrets privilege to “means and methods

of law enforcement operations.” Noem Decl. ¶ 10.A. The privilege may properly apply where

disclosure would harm the nation’s military defense capabilities, diplomatic relations, or

intelligence sources or methods—not law enforcement activities like removals. See, e.g.,

Zubaydah, 595 U.S. at 204–05 (discussing cases where the state secrets privilege has applied). At

bottom, the information at issue here concerns removal operations by ICE, which is not a

defense, military, or intelligence agency. Plaintiffs are unaware of any case where the

government has asserted the state secrets privilege over information concerning ICE’s

operations. It cannot be the case that these operations are categorically state secrets, given the

D.C. Circuit’s recognition of a separate, qualified “law enforcement investigatory privilege,”

which may be overcome by a showing of necessity. See, e.g., In re Sealed Case, 856 F.2d 268,

271–72 (D.C. Cir. 1988); Buzzfeed, Inc. v. U.S. Dep’t of Justice, 318 F. Supp. 3d 347, 356, 361–

64 (D.D.C. 2018); see also Mohamed v. Holder, No. 1:11-cv-50, 2014 WL 11516538, at *1




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(E.D. Va. Oct. 30, 2014) (distinguishing law enforcement privilege from state secrets privilege).

The Noem Declaration’s invocation of the state secrets privilege over the “means and methods of

law enforcement operations” conducted by ICE effectively seeks to convert the qualified law

enforcement privilege into an absolute one. The Court should not accept such a novel and

unmerited assertion.

III.    The Court Should Not Blindly Defer to the Executive Branch’s Arguments
        Concerning the Privilege

       In Reynolds, the case establishing the modern roots of the state secrets privilege, the

Supreme Court cautioned that abandonment of judicial control over the privilege would open the

door to “intolerable abuses.” 345 U.S. at 8. Heeding this admonition, courts have often rejected

the government’s arguments about the applicability or legal consequences of the privilege. See,

e.g., Ellsberg, 709 F.2d at 52 (district court erred by permitting the government to withhold,

under the state secrets privilege, identities of Attorneys General who authorized wiretaps); In re

United States, 872 F.2d at 479 (“we, like the district court, remain unpersuaded” by government

affidavit claiming that litigation could not continue due to state secrets); Mohamed, 2014 WL

11516538, at *1 (information presented by the government was insufficient to establish

“reasonable danger” to national security); Burks, 2020 WL 13303322, at *11 (rejecting

government’s assertion of state secrets privilege over certain material due to “official public

record”); Rahman, 2008 WL 4534407, at *6 (rejecting government’s assertion of state secrets

privilege in light of “factual backdrop,” which made clear that disclosure would not result in

harm to national security); Hepting v. AT&T, 439 F. Supp. 2d 974, 994, 996 (N.D. Cal. 2006)




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(rejecting government’s assertion of state secrets privilege over certain material and denying

government’s motion to dismiss on state secrets grounds).

          Courts have also recognized “the risk that government officials may be motivated to

invoke the state secrets doctrine not only by their obligation to protect national security,” but also

by illegitimate and self-serving reasons. Jeppesen, 614 F.3d at 1085 n.8. These concerns are

borne out in cases in which the government has sought to stretch the state secrets privilege

beyond its limits to improperly shield its actions from court review. For example, in Horn v.

Huddle, 647 F. Supp. 2d 55 (D.D.C. 2009), vacated upon settlement, 699 F. Supp. 2d 236

(D.D.C. 2010), the government “committed fraud on [the district court] and the Court of

Appeals” by “knowingly failing to correct a declaration” in support of the state secrets privilege

“that had been shown to be demonstrably false.” 647 F. Supp. 2d. at 58 & n.3. The court

concluded that the government’s actions “c[ould] only be construed as an attempt to dishonestly

gain dismissal,” and it ultimately rejected the government’s assertion of the privilege. Id. at 56–

60 & n.3; see also 699 F. Supp. 2d 236 (emphasizing that the vacatur did not alter the court’s

original reasoning); Ibrahim v. DHS, 912 F.3d 1147, 1162–65, 1171, 1182 & n.20 (9th Cir.

2019) (en banc) (government had played “discovery games” with the state secrets privilege and

“made false representations to the court” about whether it would seek to rely on state secrets at

trial).

          Indeed, even in Reynolds itself, the government had engaged in exactly the kind of abuse

that the Supreme Court warned against. Reynolds was a suit against the government brought by

the estates of civilians killed in a military plane crash. See 345 U.S. at 3. When the plaintiffs

sought production of the Air Force’s accident report, the government asserted that the report

should be protected by the state secrets privilege because the aircraft that had crashed was




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engaged in a “highly secret mission,” and disclosure of the report would “seriously hamper[]

national security.” Id. at 3–4. Several decades later, the accident report was declassified—and it

turned out to contain no “details of any secret project the plane was involved in” (as the

government had declared to the courts), but instead detailed “a horror story of incompetence,

bungling, and tragic error.” Garry Wills, Why the Government Can Legally Lie, 56 N.Y. Rev. of

Books 32, 33 (2009); see also Jeppesen, 614 F.3d at 1094 n.1 (Hawkins, J., dissenting) (noting

that in Reynolds, “avoidance of embarrassment—not preservation of state secrets—appears to

have motivated the Executive’s invocation of the privilege”). The Supreme Court’s admonition

in Reynolds—that judicial control of evidence cannot be abandoned to the caprice of executive

officers, lest it open the door to intolerable abuses—is especially apt here, given Defendants’

attempts to stonewall this Court’s inquiries concerning the violations of its orders.

                                         CONCLUSION

       Plaintiffs reiterate that the Court already possesses the information necessary to conclude

that its March 15 oral and written temporary restraining orders were violated. But if the Court

determines that it needs the government to respond to its questions to establish a more complete

record, Defendants’ attempted invocation of the state secrets privilege should be rejected.



 Dated: March 31, 2025                             Respectfully submitted,

 Noelle Smith                                      /s/ Lee Gelernt
 Oscar Sarabia Roman                               Lee Gelernt (D.D.C. Bar No. NY0408)
 My Khanh Ngo                                      Daniel Galindo (D.D.C. Bar No. NY035)
 Evelyn Danforth-Scott*                            Ashley Gorski
 Cody Wofsy                                        Patrick Toomey
 Cecillia D. Wang (D.D.C. Bar No. CA00042)         Sidra Mahfooz
 AMERICAN CIVIL LIBERTIES UNION                    Omar Jadwat
 FOUNDATION                                        Hina Shamsi (D.D.C. Bar No. MI0071)
 425 California Street, Suite 700                  AMERICAN CIVIL LIBERTIES UNION
 San Francisco, CA 94104                           FOUNDATION



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(415) 343-0770                             125 Broad Street, 18th Floor
nsmith@aclu.org                            New York, NY 10004
osarabia@aclu.org                          (212) 549-2660
mngo@aclu.org                              lgelernt@aclu.org
edanforth-scott@aclu.org                   dgalindo@aclu.org
cwofsy@aclu.org                            agorski@aclu.org
cwang@aclu.org                             ptoomey@aclu.org
                                           smahfooz@aclu.org
Arthur B. Spitzer (D.C. Bar No. 235960)    ojadwat@aclu.org
Scott Michelman (D.C. Bar No. 1006945)     hshamsi@aclu.org
AMERICAN CIVIL LIBERTIES UNION
FOUNDATION OF THE DISTRICT OF              Somil B. Trivedi (D.C. Bar No. 1617967)
COLUMBIA                                   Bradley Girard (D.C. Bar No. 1033743)
529 14th Street, NW, Suite 722             Michael Waldman (D.C. Bar No. 414646)
Washington, D.C. 20045                     Sarah Rich
(202) 457-0800                             Skye Perryman (D.C. Bar No. 984573)
aspitzer@acludc.org                        Audrey Wiggins (DC Bar No. 482877)
smichelman@acludc.org                      Christine L. Coogle (DC Bar No. 1738913)
                                           Pooja Boisture
                                           DEMOCRACY FORWARD FOUNDATION
                                           P.O. Box 34553
                                           Washington, DC 20043
                                           Phone: (202) 448-9090
                                           Fax: (202) 796-4426
                                           strivedi@democracyforward.org
                                           bgirard@democracyforward.org
                                           mwaldman@democracyforward.org
                                           srich@democracyforward.org
                                           sperryman@democracyforward.org
                                           awiggins@democracyforward.org
                                           ccoogle@democracyforward.org
                                           pboisture@democracyforward.org


                                           Attorneys for Plaintiffs

                                           *Pro bono representation certificate
                                           forthcoming




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2025, I electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

 Dated: March 31, 2025                            Respectfully submitted,

                                                  /s/ Lee Gelernt
                                                  Lee Gelernt (D.D.C. Bar No. NY0408)
                                                  American Civil Liberties Union Foundation
                                                  125 Broad Street, 18th Floor
                                                  New York, NY 10004
                                                  (212) 549-2660
                                                  lgelernt@aclu.org

                                                  Attorney for Plaintiffs




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